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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

SIMON TUSHA and
J.T., a minor,
               Plaintiffs,

                                            Case No. 1:21-cv-00494-RGA
v.

PEDIATRIC ASSOCIATES, P.A.,
ANN M. MASCIANTONIO, M.D.,

             Defendants.


       MOTION EXTENSION OF TIME TO AMEND COMPLAINT

        Plaintiff Simon Tusha, through his undersigned counsel, submits this
request for the Court to grant more time to amend the complaint for the following
reasons:

      1. Plaintiff Simon Tusha did not receive the Court’s Order dated March 18,
         2022 until April 12, 2022.
      2. Plaintiff Simon Tusha had cancer reconstructive surgery on March 11,
         2022, and still recovering from this procedure due to return to John
         Hopkins on May 2, 2022.
      3. Plaintiff hereby requests until June 15, 2022 to amend the complaint.
      4. Plaintiff was unable to retain counsel until April 14, 2022.
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    5. Undersigned counsel has tried to contact Defendants’ counsel, Alexandra
       Rogin, Esq. by telephone and email (including emailing her a draft of this
       motion). We have been unable to get Defendants’ counsel’s response to
       this Motion.

Dated: April 20, 2022                    Respectfully Submitted,

                                          /s/ E. Calvin Harmon, Jr.
                                         E. Calvin Harmon, Jr. (No. 2598)
                                         2207 Concord Pike, Ste 153
                                         Wilmington, DE 19803
                                         (302) 351-4333
                                         (302) 658-3789 (facsimile)
                                         calvin.harmon@wilmingtonventures.co
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